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Debtor    Yield1 O Bioscience, Inc.                                                                      Case number (it /<flown)
                                                                                                                                    ----------    --
          Name                                                                                                                                 ---


7,   Describe debtor's business A. Check one:
                                          D Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          D Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          □ Railroad (as defined In 11 U.S.C. § 101(44))
                                          D Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          D Commodity Broker (as defined in 11 U.S.C. § 101(6))


                                          ■
                                          D Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                              None of the above

                                          B. Check all that apply
                                          D Tax-exempt entity (as described in26 U.S.C. §501)
                                          D Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §B0a-3)
                                          D Investment advisor {as defined in 15 U.S.C. §80b-2(a)(11))
                                      I           o,;·•'Jl .•,� .•....,......_           --.-.,.. ·�----,-------�---,,.,-."", .-- -----
                                          C. NAtCS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                            hllp:/lwww.uscourts.gov/four-digit-national-association-naics-codes.
                                                     5417

8.   Under which chapter of the           Check one:
     Bankruptcy Code Is the

                                          □
                                          D Chapter7
     debtor filing?


                                          ■
                                              Chapter9

                                              Chapter 11. Check all that apply:
                                                              D     Debtor's aggregate noncontlngent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                    are less than $3,024,725 (amount subject to adjustment on 4/01/25 and every 3 years after that).
                                                              D     The debtor is a small business debtor as defined in 11 U.S.C. § 101 (51 D). If the debtor is a small
                                                                    business debtor. attach the most recent balance sheet, statement of operations, cash-flow
                                                                    statement, and federal Income tax return or If all of these documents do not exist, follow the
                                                                    procedure in 11 U.S.C. § 1116(1)(6).
                                                              D     The debtor is a small business debtor as defined In 11 U.S.C. § 101{51D), and it chooses to
                                                                    proceed under Subchapter V of Chapter 11.
                                                              D     A plan is being filed with this petition.
                                                              D     Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                    accordance with 11 U.S.C. § 1126(b).
                                                               ■ The debtor is required to file periodic reports (for example, 1OK and 10Q) with the Securities and
                                                                    Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                    Attachment to Voluntary Petillon for Non-Individuals Fifing for Bankruptcy under Chapter 11
                                                                    (Official Form 201A) with this form.
                                                              D     The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          D Chapter 12

                                          ■ No.
                                          □
9.   Were prior bankruptcy
     cases filed by or against
     the debtor within the last 8             Yes.
     years?
     If more than 2 cases, attach a
     separate list.                                  District ---------- When           Case number   --------
                                                     District            When ----- --- Case number




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